Case: 24-1781    Document: 25     Page: 1   Filed: 08/21/2024




           NOTE: This order is nonprecedential.


   United States Court of Appeals
       for the Federal Circuit
                  ______________________

                   KEVIN MERTENS,
                       Petitioner

                             v.

      MERIT SYSTEMS PROTECTION BOARD,
                    Respondent
              ______________________

                        2024-1781
                  ______________________

    Petition for review of the Merit Systems Protection
 Board in No. PH-0752-21-0092-I-1.
                 ______________________

                      ON MOTION
                  ______________________

 Before LOURIE, CUNNINGHAM, and STARK, Circuit Judges.
 PER CURIAM.
                        ORDER
     In response to this court’s July 2, 2024 show cause or-
 der, the Merit Systems Protection Board argues this case
 should be dismissed or transferred. Kevin Mertens ap-
 pears to argue the merits of his case, ECF Nos. 21 and 22,
 and also moves to stay proceedings pending appeal, ECF
 No. 14, to file a replacement informal opening brief, ECF
Case: 24-1781     Document: 25     Page: 2    Filed: 08/21/2024




 2                                           MERTENS v. MSPB




 No. 12, and for various other relief from this court and the
 Board, ECF No. 20.
     Mr. Mertens appealed his removal to the Board on Jan-
 uary 4, 2021, raising an affirmative defense of disability
 discrimination.      The administrative judge granted
 Mr. Mertens’s request to dismiss his appeal without preju-
 dice to refiling, and Mr. Mertens petitioned the Board for
 review. The Board’s March 6, 2024 decision affirmed but
 construed his petition as seeking to refile his appeal and
 transmitted it to the regional office for further adjudica-
 tion. 1 Mr. Mertens then petitioned this court for review.
     Federal district courts, not this court, have jurisdiction
 over “[c]ases of discrimination subject to the provisions of
 [5 U.S.C. §] 7702,” § 7703(b)(2), which involve an allegation
 of an action appealable to the Board and an allegation that
 a basis for the action was covered discrimination, 5 U.S.C.
 § 7702. Perry v. Merit Sys. Prot. Bd., 582 U.S. 420, 437
 (2017). And such cases may be brought if there has been
 “no judicially reviewable action” by “the 120th day follow-
 ing the filing of an appeal with the Board.” 5 U.S.C.
 § 7702(e)(1)(B). Here, as the Board notes, Mr. Mertens ap-
 pealed his removal and alleged that the action was based,
 at least in part, on covered discrimination, and it appears
 that he continues to pursue that claim, see, e.g., ECF No. 22
 at 17–18. We transfer to the United States District Court
 for the District of Connecticut, where the employment ac-
 tion appears to have occurred. 28 U.S.C. § 1631.
     Accordingly,




     1  The Board states that the re-filed appeal has been
 dismissed without prejudice pending resolution of this
 matter. ECF No. 23 at 4.
Case: 24-1781      Document: 25   Page: 3    Filed: 08/21/2024




 MERTENS v. MSPB                                           3




     IT IS ORDERED THAT:
    This matter and all case filings are transferred to the
 United States District Court for the District of Connecticut
 pursuant to 28 U.S.C. § 1631.
                                              FOR THE COURT




 August 21, 2024
     Date
